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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                     No.

  UNITED STATES OF AMERICA

  v.

  FRANCISCO CONVIT GURUCEAGA, et al.,

        Defendants.
  ----------------------~/

                                 CRIMINAL COVER SHEET



  1.    Did this matter originate from a matter pending in the Northern Region of the United
        States Attorney's Office prior to October 14, 2003? _ _ Yes       X     No

  2.    Did this matter originate from a matter pending in the Central Region of the United States
        Attorney's Office prior to September 1, 2007?           Yes        X      No



                                             Respectfully submitted,

                                             BENJAMIN G. GREENBERG
                                             UNITED STATES ATTORNEY



                                     BY:       ~~~.

                                             FRANCISCO R. MADERAL
                                                                       ~

                                                                           .
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AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Southern District of Florida

                  United States of America                          )
                               v.                                   )
                                                                    )
      FRANCISCO CONVIT GURUCEAGA, et al.,                           )
                                                                    )
                                                                    )
                           Defendant(s)


                                                      CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    12/2014-7/2018                in the county of           Miami-Dade            in the
     Southern          District of              Florida         , the defendant(s) violated:

            Code Section                                                       Offense Description
Title 18, United States Code,                    Conspiracy to Committ Money Laundering
Sections 1956(h) & 1956(a)(2)

Title 18, United States Code,                    Interstate and Foreign Travel in Aid of Racketeering Enterprises
Section 1952




         This criminal complaint is based on these facts:
SEE ATTACHED AFFIDAVIT.




         ';/ Continued on the attached sheet.



                                                                                               complainant's si~e

                                                                                        George F, Fernandez, S/A, HSI
                                                                                               Printed name and title

Sworn to before me and signed in my presence.


Date:     \J(Jb ~ U/ g
                                                                                                       /         /

City and state:                           Miami, Florida                                        orres~rU.S.   Magistrate Judge
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                                                 AFFIDAVIT

         I, GEORGE F. FERNANDEZ, Special Agent with Homeland Security Investigations

  ("HSI"), having been first duly sworn, do hereby depose and state as follows:

                                             INTRODUCTION

          1.     I am an investigative or law enforcement officer of the United States within the

  meaning of Section 251 0(7) of Title 18 of the United States Code. That is, I am an officer of the

  United States who is empowered by law to conduct investigations of, and to'make arrests for,

  offenses enumerated in Title 18, United States Code, Section 2516(1).
                                                                          /
         2.      I have not necessarily included in the affidavit eash and every fact known to me

  about the matters set forth herein, but only those facts and circumstances that I believe are
                                                                I
  sufficient to establish probable cause for the Court to s~gn a 'criminal complaint.
                                                        /
         3.      The statements contained in this affidavit are based upon my investigation,

  information provided by other individuals;' including sworn law enforcement officers and
                                             /
  confidential sources, and upon my experience and training <;~.s a federal agent and the experience

  and training of other federal   ag~p.ts.


         4.      AI1 dates, times, and amounts stated herein are approximate. Quotations and

  summaries of recorded conversations are based on transcriptions with side-by-side Spanish-to-

  English translations or the actual Spanish-language recordings. In reviewing the transcripts, I

  relied on both the translations and my knowledge of Spanish, as well as that of others.

         5.      This affidavit is made in support of a criminal complaint charging the following

  defendants, with conspiracy to commit money laundering, in violation of Title 18, United States

  Code, Section 1956(h), and violations of the Travel Act, in violation of Title 18, United States

  Code, Section 1952.
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                                  Defendants & Others InvolVed

         6.      Francisco CONVIT Guruceaga is a Venezuelan national. CONVIT, along with

  CONSPIRATOR 2, is often referred to as a    "Bol~chico"      or member of the "boliburgues."

         7.      Jose Vincente AMPARAN Croquer, a.k.a., "Chente" is a Venezuelan national

  and professional money launderer. AMPARAN is associated, along with CONSPIRATORS 5 and

  6, with "European Company 1" in Spain, which is a money laundering front operating as a real

  estate investment firm. AMPARAN also maintains relationships with "Ewopean Financial

  Institution 1" in Malta, a private investment firm, which he uses to launder money.

         8.      Carmelo URDANETA Aqui is a Venezuelan national and former Legal Counsel

  to the Venezuelan Ministry of Oil and Mining.

         9.      Abraham Edgardo ORTEGA is a Venezuelan national and former Executive

  Director of Finance at Venezuelan state-owned oil company, Petr6leos de Venezuela, S.A.

  (PDVSA).                                     /


         10.     GUSTAVO Adolfo Hefnandez Frieri is a Colombian national by birth and
                                     /.,--

  naturalized U.S. citizen (as ofM~y2013).
                                   ,       GUSTAVO is a professional
                                                               .
                                                                     money launderer who uses

  his fmancial firms, Global pecurity Advisors (GSA) and Global Strategic Investments, in Miami,

  Florida, to. launder mpfiey with false-mutual-fund investments.

         11.     Hugo Andre Ramalho GOIS is a Portuguese national and professional money

  launderer associated with AMPARAN.               I
                                                       '

         12.     Matthias KRULL is a German national and Panamanian resident. KRULL was a

  high-level banker at a large Swiss bank, specializing in Venezuelan clients. KRULL is the personal

  banker of CONSPIRATOR 7 and others. KRULL manages "banking" activities for numerous

  Venezuelan officials and kleptocrats.




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              13.    Marcelo Federico GUTIERREZ Acosta y Lara is a Uruguayan national.

      GUTIERREZ is part of an ownership group of at least one U.S. bank that facilitates money

      laundering and is associated with GUSTAVO.

              14.    CONSPIRATORS 1- 9 are some of the additional uncharged members of the

      conspiracy along with others. CONSPIRATORS 1 - 9 include other former PDVSA offiCials,

      individuals associated with CONVIT, reported members of the "boliburgues," and professional

      third-party money launderers.                                                     /

              15.    VENEZUELAN OFFICIALS 1-3 are foreign officials, . /
                                                                              /
                                              PROBABLE CAUSE

              16.    In 2016, a Confidential Source (CS) approached the HSI Miami Office (HSI-

      Miami) regarding 78 million in Euros the CS received, which originated from a loan contract with
                                                            //
      PDVSA. The CS was involved in a money laundering conspiracy and wanted to surrender the
/     money and cooperate. HSI-Miami thereafter began an undercover investigation: Organized Crime
                                                /
      and Drug Enforcement Task Force (OCDETF) Operation Money Flight.

              17.    The CS agreed to,wear a recording device and Operation Money Flight proceeded
                                       ~···




      proactively with an initial focus on the defendants' efforts to launder a portion of the 78 million in

      Euros (the "PDVSA Ntids") in and through South Florida.

              18.    1/Wo years and over one hundred recordings later, Operation Money Flight revealed

      an international conspiracy to launder the PDVSA funds through Miami and several large-scale,

      international third-party money-laundering organizations. More specifically, the investigation

      revealed the use of Miami real estate and sophisticated false-investment schemes to launder

      hundreds ofmillions ofU.S. Dollars.




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                           Venezuelan Corruption & MiamiLaundering

            19.   Venezuela has a foreign-currency exchange system under which the government

  'will exchange local currency (Bolivars) at a fixed rate for U.S. Dollars. The fixed exchange rate

  has been well below the true economic rate by a substantial factor for several years. For example,

  in 2014, the Venezuelan government fixed exchange rate was approximately six Bolivars to one

  U.S. Dollar. By contrast, the true economic exchange rate was approximately sixty Bolivars to one

  U.S. Dollar.                                                                   /

                                           1
            20.   The difference between the fixed rate and the true .economic rate creates
                                                                         /
  opportunity for fraud and abuse.
                                                                    ,/



            21.   For example, in 2014, an individual could.exchange 10 million U.S. Dollars

  for 600 million Bolivars at the true economic rate. Then, if that individual had access to the
                                                       /
  government fixed rate, he could convert that same/ 600 million Bolivars into 100 million U.S.

  Dollars. Essentially, in two transactions, that"person could buy 100 million U.S. Dollars for 10
                                           /
  million U.S. Dollars.

            22.   Massive fraud anq c~rruption is rampant throughout Venezuela's government-run
                                     ..'



  foreign-exchange system. ~stimates of the fraud range as high as $20 billion a year, and reports

  indicate that corrupt government officials take kickbacks to authorize exchanges at the fixed

  rate. 1         /

            23.   Embezzlement of Venezuela's dwindling foreign currency reserves is the fuel for

  these corrupt exchange schemes. PDVSA is Venezuela's primary source of income and foreign

  currency (namely, U.S. Dollars and Euro1?), and serves as the source of foreign currency used to



  1
    Reuters, Venezuela Says 40 Percent of Dollar Buyers Are Shell Companies, Dec. 12, 2013,
  available at http://www.reuters.com/article/us-venezuela-economy-idUSBRE9BBOT820 131212


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  fund corrupt foreign exchange embezzlement schemes. As with Venezuela in general, fraud and

  corruption is reportedly common at PDVSA.

         24.     Venezuela's state of social, political, and economic crisis in which multi-billion-

  Dollar corrupt and criminal ecosystems thrive drives rivers of criminal proceeds through South

  Florida, which has become an international money-laundering hub and a desirable destination for

  well-to-do foreign criminals _and kleptocrats.

                                False-Investment Money Laundering                       /



         25.     Most of the   def~ndants      are sophisticated operators with r~spect to the international

  banking system and are aware of banks' general due diligence ~nd anti-money laundering
                                                                           ./·



  practices, including know-your-customer (KYC) requirements:

         26.     Importantly, for one party to wire funds to a third party, there must be some
                                                             /
  legitimate business justification provided to the bank; for instance, a payment for the purchase of

  real estate or equipment. Moreover, a bank will ask for documents supporting the justification,

  which-depending on the transaction~an be difficult to manufacture; for instance, a bank may
                                        ./ .
  be able to verify whether a supppsed real estate transaction took place. This verification poses a
                                   ./




  problem for money    laund~ng     transactions in which large, sums of criminal proceeds must be

  moved around the finaflcial system from one person to another as bribes, kickbacks, transfers, or

  exorbitant expenditures, for instance.

         27.     Accordingly, false investments in fake securities are convenient justifications in

  that they are more difficult for a bank to investigate and verify. By way of example, one party

  might wire 30 million U.S. Dollars to a third party with the justification that the amount is a loan

  to the third party, supported by a 30 million U.S. Dollar promissory note due at some point in the




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  future, which neither party actually intends to honor. For the bank, ascertaining the true intent of

  the parties and the fraudulent nature of the investment is difficult.

         28.      Sophisticated false-investment money laundering schemes are used throughout this

  conspiracy, ranging from individual false securities (promissory notes and bonds) to entire false-

  investment funds, which can be subscribed to as needed to justify transactions.

         29.      Surrounding and supporting these false-investment laundering schemes are

  complicit money managers, brokerage firms, banks, and real estate investment :firms in the United

  States and elsewhere, operating as a network of professional money launderers.
                                                                                  /
                                   Money Laundering Conspiracy
                                                                          .-<'·


         30.      The conspiracy in this case began in December 2014 with a currency exchange

  scheme to embezzle approximately 600 million U.S. Dollars from PDVSA, obtained through
                                                        /
  bribery and fraud, and the defendants' efforts to use the CS to launder a portion of the proceeds of

  that scheme (the PDVSA funds). By May of2015, the conspiracy had doubled in amount to 1.2
              '                             /
  billion U.S. Dollars embezzled from PDVSA.

         31.      The facts of the
                                ./
                                   conspiracy set forth below are evidenced by electronic

  communications and docgments, government records, financial records, recordings of phone

  conversations and in-person meetings, and CS statements.

                  /         CONVIT & URDANETA Approach the CS

          32.     In 2014, URDANETA and CONVIT approached the CS with an offer to sell 100

  million U.S. Dollars at a favorable Bolivar exchange rate and without the CS having to front the

  Bolivars.




                                                    6
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          33.       The CS agreed because the CS had clients in Venezuela to whom the CS could sell

  the U.S. Dollars. From previous business dealings, the CS knew CONVIT obtained U.S. Dollars

  from exchange contracts with PDVSA.

          34.       The CS expected to receive a simple buyer-seller foreign exchange ("forex")

  contract to memorialize the agreement with CONVIT and URDANETA.

          35.       Over the course of the next month, January 2015, CONVIT, URDANETA, and the

  CS   ~continued   to discuss and facilitate the supposed forex transaction, oftE;n via BlackBerry

  Messenger (BBM) chats and while CONVIT was present in the Southern District of Florida,
                                                                           /
  according to U.S. travel and other records. 2

          36.       During this time, CONVIT delayed providing the forex contract to the CS, but this '    J




  did not overly concern the CS because the funds were coming from a regulated asset management
                                                         /
  firm, "European Financial Institution 1," which the CS could explain to the receiving bank.

          37.       The CS instructed CONVIT to/wire the funds from European Financial Institution

  1 to an account belonging to a trust, ofwfuch the CS was the ultimate beneficiary. CONVIT agreed

  and informed the CS that the    fun,4S.~ould arrj.ve in Euros and not U.S. Dollars.
          38.       By February 12, 2015, the CS had received approximately 78.8 million Euros into

  the trust from Europef!.n Financial Institution 1 in four separate wire transfers beginning on January

  14, 2015.         /
                                                                                                     I
          39.       After receiving the initial 36 million Euros in mid-January, the CS asked CONVIT

  via BBM chat on January 13, 2015 if the CS could sell about 20 million Euros to a client, but

  CONVIT replied "no." CONVIT explained that he had already paid for the Bolivars on his end



  2
   According to these records, CONVIT arrived in the Southern District of Florida on December
  20, 2014 and departed on January 18, 2015.


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   (meaning he had no immediate need for Bolivars), and that the CS would have to wait about a

   month to sell the Euros further.
                                                                I
          40.     On February 6, 2015, the CS informed CONVIT that the CS urgently needed the

   forex contraCt between the CS and European Financial Institution 1 for the CS 's bank's compliance

   department. The CS asked CONVIT for a form draft so that the CS could prepare it.

          41.     That same day, CONVIT finally sent the CS a (PDF) document to justify the

   transfer between European Financial Institution 1 and the CS's trust. W4at CONVIT sent,

   however, was a false joint venture contract between a Hong Kong shell company, Eaton Global

   Services Limited, and the CS's trust, with a forged signature on behalfofthe CS's trustee. The CS
                                                                        ../··


   had never seen this contract before.

          42.     The fake joint venture contract, dated December 17, 2014, contemplated a fictitious
                                                       //
   600 million U.S. Dollar joint venture between Eaton Global and the CS's trust; the supposed

   business of the joint venture was the making ofloans to PDVSA;
                                              /
          43.     On February 9, 2015, the CS told CONVIT that the fake joint venture contract could
                                          J


   not be used. CONVIT and URDA~ETA assured the CS that the fake contract had not been used
                                      /




   or provided to any bank. /

          44.     The CSC' also requested the original underlying exchange contracts and CONVIT

   responded that URDANET A had physical copies and would deliver them. Days later in Venezuela,

   the CS received the documents in-person from URDANETA, who explained that he obtained the
     '
   documents from "CONSPIRATOR 1," a former PDVSA official.
                                                                    \
          45.     These documents, which the CS provided to HSI-Miami, reveal the source of the

   PDVSA funds and the nature of the scheme.




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                         PDVSA Bribery & Embezzlement .Scheme Revealed

          46.    The source of the PDVSA funds was a PDVSA foreign-currency exchange scheme
                                                      I

   benefitting Eaton Global. The exchange scheme 'was disguised as a "financing" arrangement using

   the follc::>wing three documents (provided by URDANETA) in an artless attempt to hide what was

   ultimately revealed as an embezzlement:

                 a.       First, 'a loan contract, dated December 17, 2014, between PDVSA

         . and Rantor Capital C.A., a Venezuelan shell company, in which Ranto.ragreed to

          loan 7.2 billion Bolivars to PDVSA. The loan contract was executed by

          "VENEZUELAN OFFICIAL 1" as Vice President ofPDVSA;
                                                         / ..



                 b.       Second, an assignment contract, dated December 23,2014, between

          Rantor and Eaton Global, in which Rantor assigns its rights as PDVSA's creditor
                                                              /
          under the loan contract to Eaton Global and in which it is contemplated that PDVSA

          is given the right to cancel the debt within 180 days by paying 600 million U.S.
                                               /
          Dollars; and
                                        ~/·


                 c.       Third, a   ~otice   of assignment letter, dated December 23, 2014, in

          which Eaton Global
                          /
                             informs PDVSA (VENEZUELAN
                                                    .
                                                       OFFICIAL 1) of the

          assignment arlCrsuggests that PDVSA repay the 7.2 billion Bolivar loan in the Eurp ,

          equivalent of600 million U.S. Dollars. The letter included instructions for PDVSA

          to wire the funds to European Financial Institution 1 accounts for the benefit of

          Eaton Global.

          4 7.   In short, Eaton Global ended up with the right to pay PDVSA about 7.2 billion

   Bolivars (worth around 35 million Euros) and receive about 510 million Euros, of which about

   78.8 million Euros was sent to the CS.




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          48.     While the CS continued to wait for a forex contract from CONVIT and

   URDANETA, the CS began to conduct third-party transactions on their and CONSPIRATOR 1 's

   behalf. Ultimately, the CS learned that the CS was not involved in a forex transaction, but rather a

   money laundering operation in which the CS was expected to launder the proceeds of the

   embezzlement and make cash kickback payments to VENEZUELAN OFFICIAL 1.

          49.     ;rn April2015, the CS began making cash payments in Venezuela at URDANETA
   and CONSPIRATOR 1 's direction, including to URDANETA, CONSPIRATOR 1, and

   VENEZUELAN OFFICIAL 1, which would-ultimately total over 1 mill~ortU.S. Dollars.
                                                                          /
          50.     In all, the CS conducted approximately 15 million Euros-worth of transactions

   through the summer of 2015, including several U.S.-Dollar wire transactions at the defendants'

   direction, 3 until the CS began to resist making further payments. Around that time, the CS used
                                                         //
   the liquidation of the CS 's trustee as an excuse to halt payments; the CS claimed that the CS could

   not continue without the forex contract. CONVIT and URDANETA continued to pressure the CS.

   The ensuing impasse led to a meeting arbund November 2015 at CONVIT's office in Venezuela.

          51.     Around Novemb~r 2015, CONVIT summoned the CS to a meeting at CONVIT's

   office in Caracas, Venezue!a. Prior to the meeting, CONVIT explained to the CS that the CS would

   meet AMPARAN, who was in charge of the financial documents.
           \
          52.     A:t the meeting, CONVIT, URDANETA, AMPARAN, and the CS sat around a

   table. CONVIT had a handgun on the table. Next to CONVIT was a German Shepard with a shock

   collar. CONVIT held the remote for the collar, and commented that he could not always control




   3
     Based upon my training and experience, I know that international U.S.-Dollar wire transactions
   are routed and processed through banks located in the United States.


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   the dog. The meeting took place at CONVIT's office with numerous security guards; according to

   the CS, the mood was one of intimidation by CONVIT.

          53.     AMPARAN told the CS that the fake joint venture contract -had in fact been
                                                                               '
   provided to European Financial Institution 1 's banks in Canada and Malta. Accordingly,
                                                                                               (

   AMPARAN explained that it would be impossible to replace the contract with a simple forex

   contract and additional fake contracts were needed. The CS asked to return the PDVSA funds and

   reverse the transactions, but was told a reversal was impossible.                  ,/

                                    The CS Records the Defendants

          54.     Beginning in February 2016, the CS recorded convefsations with the defendants

   and other conspirators in which they explicitly acknowledged'the money laundering conspiracy

   and underlying embezzlement. As evidence by the following recordings, during this time, the CS
                                                           /
   worked with URDANETA, ORTEGA, and CONSPIRATOR 1 to account for                       ~nd        distribute the

   PDVSA :fi.l'nds to themselves and others and/to ensure that AMPARAN supplied the additional
                                             /
   fake contracts necessary to do so.

          55.     In a·February 19,_26'16 recorded meet with URDANETA, the CS complained that
                                     .~                                                    '




   the CS needed additional)locuments from AMPARAN. URDANETA agreed and said that he

   would write to AMP:ARAN, CONVIT and "CONSPIRATOR 2" to "bug them" about the

   contracts. URDANETA also stated that they (CONVIT, et al.) are being "hit right now" by people

   in the "assembly'' and joked that it is not a "pi:fiata," in an apparent reference to corrupt Venezuelan

   officials hitting the defenda~ts up for bribes. URDANETA also stated that he would not go to the

   United States because the last time he was searched at the border and "they took away [his] phone.

   [And t]hank God [he] didn't have [his] phone, but a new phone."




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            56.    In a February 22, 2016 recorded meet with ORTEGA, ORTEGA and the CS

   discussed how to move ORTEGA's money from the CS to ORTEGA. The CS explained that it is

   not simple, and ORTEGA, regarding the source ofhis portion of the PDVSA funds, stated:

           So we can be frank and open with each other. Now. You know the origin of that.
           And that comes from ... from something that is still making noise and it's still
           making noise and it's still making noise. It's going to explode one day. I_ mean,
           maybe not tomorrow, and also, it's not the ... our friend, the leader in all this, he is
           everywhere every day

   ORTEGA also acknowledged CONSPIRATOR 1 's4 role in assigning him a portion of the PDVSA

   funds and fretted aloud:

           It's all that shit they've been talking about, investigatiorls and shit. Or the
           Americans going into all this, is that true? How far does tliat reach?

           But, how far could they get, in your opinion? If they get to the Swiss and they tell
           them, "I want, I want this information." Do they have to give it to them?

   Finally, the CS and ORTEGA walked through some'account opening forms and discussrd how

   ORTEGA could avoid declaring himself as a politically exposed person (also known as a PEP) on

   bank KYC documents.                        /


            57.    In a February     23;~   2016 recorded conversation with "CONSPIRATOR 3"

   (CONSPIRATOR 1's brother), the CS explained that the CS's trustee is liquidating and
                               /

   "eventually there's a risk ofthe trustee checking the operation" and finding that the "the guys did
   .                      ?




   a fake deal, falsifying the signatures of these guys who are there." The CS explained that the CS

   called URDANET A and CONSPIRATOR 1 and told them that they have to set the documentation

   straight. The CS and CONSPIRATOR 3 also discussed a meeting in Caracas between the CS,
                                                       '                                         '



   URDANETA, and AMPARAN about fixing the document, and CONSPIRATOR 3 noted that he

   has a "payment for [VENEZUELAN OFFICIAL 1]."


   4
       CONSPIRATOR 1 is a former PDVSA official.


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                       \

          58.     In a March 7, 2016 recorded meet with URDANETA, the CS and URDANETA

   recounted the receipt and expenditure of the PDVSA funds to date ("seventy eight million eight

   hundred and something"). They recounted how much belonged to CONSPIRATOR 1 ("fourteen
                             >



   million five hundred forty thousand six hundred twenty-five") and other expenditures, including a

   list of cash payments to include payments to VENEZUELAN OFFICIAL 1 who authorized the
                                                     i


   underlying PDVSA loan agreement. The CS recounted the cash kickbacks to VENEZUELAN

   OFFICIAL 1 as follows:                                                           /



          [VENEZUELAN OFFICIAL 1], I gave him ... to the boy he sent,in one occasion
          two hundred thousand [200,000], June fourth [4th] and in another occasion one
          hundred thousand [100,000], on June twenty sixth [26th]. . /

   URDANETA agreed. URDANETA and the CS then                 discuss~d   AMPARAN's plan to make new

   fake contracts justifying the transaction (the CS noted to URDANETA that AMPARA~ is flying
                                                         /
   to Miami in several days). URDANETA was concerned that he didn't want to leave a trail of

   "breadcrumbs" with respect to the accounts. URDANETA again acknowledged CONVIT's
                                                                                                   )

   involvement and CONSPIRATOR 1 's a:rfangement with ORTEGA. CONSPIRATOR 1 joined the

   meeting and discussed with URDANETA and the CS the fake joint venture contract, who was
                                     ··'


   responsible for it, and how to divide up the PDVSA funds.
                                 /


          59.     Impoft:ailtly, at this meeting, URDANETA and CONSPIRATOR 1 reviewed a

   spreadsheet of ~11 the cash payments and expenditures created by the CS; each acknowledged the

   contents of the document, wrote notes on it, checked off transactions, and, ultimately, dated it. The

   CS provided a copy of this document to HSI-Miami with both URDANETA and CONSPIRATOR

   1 's handwritten notes; included on the spreadsheet are the kickback payments to VENEZUELAN

   OFFICIAL 1.

          60.     In a March 9, 2016 recorded meet with AMPARAN and URDANETA,

   AMPARAN ran through the plan to replace the fake join:t venture agreement with new documents.


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   AMPARAN explained that the fake agreement could be replaced with the new (better) fake ones

   in the compliance file at the Canadian bank and added to the file at European Financial Institution

   1, and further that the "Accounting Firm 1" auditors are on board. AMPARAN explained that he

   is flying to Miami the next day and from there he will print out and provide the CS with the new

   fake contracts.

          61.        In a March 15, 2016 recorded meet with ORTEGA, ORTEGA explained to the CS

   that he has found a "person" (GUSTAVO) with a           "st~cture"   to transfer his/PDVSA funds to

   ORTEGA, and asks the CS to meet with the person in New Y9rk, Miami; or Panama. ORTEGA

   asked the CS what the CS 's story is and why the CS is acting differently "overnight" and whether
                                                                         /'




   it is "an investigation"; the CS explained that everyone is '5making messes," that the CS has

   "start[ed] to find out about stuff ... the [CS] didn't know," and that the CS is stopping because the
                                                           //
   CS doesn't want to get into trouble. ORTEGA explained that the rumor is that the "Americans are

   investigating you, that you are in big troulSle" and asked the CS whether the CS is under

   investigation and what the banks have asked the CS.

          62.        In an April 2, 2916/recorded meet with ORTEGA and GUSTAVO in Panama,

   ORTEGA introduced the      c;s to GUSTAVO, who explained how he can launder money using his
   brokerage firm and private mutual fund. Specifically, GUSTAVO explained that his brokerage

   firm, GSA, operates from the United States, but primarily does business in Latin America and

   manages $2 billion. 5 Regarding GSA's reputation, GUSTAVO explained:

          I would say that our profile, would be by-by nature a business that we prioritized
          the type of client with which we deal, uh .. .let's say if it is a low profile, we go even



   5
     I am further aware, that GSA is affiliated with Global Strategic Investments, LLC (GSI), which
   is a broker/dealer headquartered in Miami, Florida. GUSTAVO and the CS would later conduct
   numerous meetings at GSI's office in Miami.


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          lower, that way they will never talk about us, or any advertising, or any cocktail
          parties.                                                                         ·

   GUSTAVO explained that they operate a fake mutual fund which receives money from a payment

   made to look like an investment into the fund, but is actually laundered out of the fund. GUSTAVO

   explained that "we'll make the transactions in such a way that the purchase will look legitimate"

   imd that the money can be directed anywhere on the back-end using "cards" or "checks" or even

   "wire transfers," but as to the latter he (GUSTAVO) will "always be on the loqkout to see the
                                                                                       /
  transfer and who's receiving it, because ... [l]ike the saying·goes, the fish dies by its mouth .... they

  have their eyes on everyone." GUSTAVO went on to explain how he can avoid being tracked by
                                                                            /

   the authorities such as Interpol and acknowledged that ORTEGA and the CS's situation is a "time

  bomb." Finally, GUSTAVO insisted that they use WhatsApp to communicate and avoid emails. 6

                       Cooperation Begins & Conspiracy Continues in Miami
                                                           /

          63.     In April 2016, the CS began cooperating with HSI-Miami and continued making
                                                  /
  consensual recordings with the defendants and other conspirators.
                                             /

          64.     The conspiracy
                        .
                                 conti,nued in four primary aspects. First, AMPARAN worked to
                                        /



  replace the fake joint venture contact with better fake contracts to justify the initial transfers to the

   CS. Second, AMPARAN Worked to launder URDANETA's portion of the PDVSA funds-from
                         /
   the CS using false investments. Third, GUSTAVO worked to launder ORTEGA's portion ofthe
                   /
   PDVSA funds from the CS, also using false investments. And fourth, KRULL and GUSTAVO

   worked to launder additional PDVSA funds that did not originally flow through the CS.




   6
     Based on my training and experience, encrypted peer-to-peer chat services, such as WhatsApp,
   are preferred by individuals engaged in criminal activity because law enforcement is generally
   unable to obtain the content of the communications from the service provider.


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           65.    During the course of this conspiracy, GUSTAVO also laundered funds as part of a

   scheme to promote international narcotics trafficking. KRULL also contacted the CS with several

   separate plans to launder money from at least one foreign bribery scheme, all as set forth below.

                    AMPARAN's Replacement of the Fake Joint Venture Contract

           66.    In a recorded April 27, 2016 meet with AMPARAN at the Miami, Florida office of

   Solar Cargo, Inc./ AMPARAN and the CS discussed the fake joint venture contract and

   AMPARAN acknowledged that it was meant to justify the movement of the PJ)VSA funds to the

   CS and that CONVIT was involved. AMPARAN assured the CS not t9/worry about European

   Financial Institution 1 and the fake contract because European Finqnclal Institution 1 will let him
                      -                                                 /

   know if there is an investigation and AMPARAN "can manipulate that." AMPARAN and the CS

   discussed supplemental fake contracts AMPARAN had previously prepared and provided.

   AMPARAN also began to explain how he will launder URDANETA's portion of the PDVSA

   funds using fake bonds.                          /


           67.    On or around May 26, 2016, the CS received a BBM chat from AMPARAN

   instructing him where in Venezuxl<i"'to pick up the proposed fake contracts. The CS had an assistant

   pick up the replacement fa~e contracts from AMPARAN and provided them to HSI-Miami.

           68.    On Iv:[c(y 25, 2016, URDANETA sent a BBM chat to the CS stating that

   "['CONSPIRAl_;OR 4' 8]    ...   has an offer and I prefer you to speak directly with him." On May 27,

   2016, the CS had a recorded call with CONSPIRATOR 4, and explained to CONSPIRATOR 4
                                                                  '"
   that the CS was working with AMPARAN to fix things and that the CS had explained to the bank            1




   7
    AMPARAN explained in the recorded meet that he works for Solar Cargo, that it has six planes
   operating, and that he had recently been hired by PDVSA to move medicine from Iran to
   Venezuela.
   8
       CONSPIRATOR 4 is associated with CONVIT and formerly with PDVSA.


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   that the PDVSA funds were from an ~xchange transaction. CONSPIRATOR 4 responded "Oh they

   made it up" and the following conversation ensued:

           CONSPIRATOR 4:         This is bad. This is bad when not-not-nqt. .. The truth is not
                                  spoken and can't-can't-can't even do [unintelligible]
                                  regarding it since it never happened.

           CS:                    Uh-huh. But. .. the truth was a foreign exchange transaction,
                                  correct?

           CONSPIRATOR 4:         The truth it was, was, was not a foreign e~change
                                  transaction. It does not exist in Bolivars. Not atall,
                                                                                   /
                                                                                         it was
                                  a payment [unintelligible]

   CONSPIRATOR 4 suggested a meeting in Venezuela with everyone whO,has "an interest" to sort
                                                                           /
   things out and fix "the papers" before things get bad when it is t09'late.

           69.     On June 13, 2016, the CS met with AMPARAN in Venezuela and they executed

   replacement fake contracts. The replacement fake contracts (later provided to HSI-Miami by the
                                                         /
   CS) included a complex array ofbogus financing and trust documents involving Rantor, the CS's ·

   trust, and other entities.
                                             /
           70.     On June 22, 2016, AMPARAN sent the CS an email with a fake loan agreement

   between Solar Cargo and Rantot meant to supplement the replacement fake contracts. In BBM

   chats between AMPARANand the CS in August 2016, AMPARAN asked if the CS ~eceived the
                           /
   latest contract, and the CS responded yes. On September 5, 2016, AMPARAN sent the final fake

   contract betwee~ Solar Cargo and a company belonging to the CS. All of these replacement fake

   contracts were backdated to early 2014.

            AMPARAN and URDANETA's Efforts to Continue Laundering PDVSA Funds

           71.     As mentioned above, in an April 27, 2016 recorded meet with AMPARAN in

   Miami, the efforts to launder URDANETA's portion of the PDVSA funds from the CS occurred

  . simultaneously to AMPARAN's efforts to replace or supplement the fake joint venture contract.



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   During that meet, AMPARAN explained how he would launder URDANETA's portion of the

   PDVSA funds using the purchase of a fraudulent bond designed to default to conceal the transfer:

          we are now working through a mechanism, through which, we issue a bond through
          a bank, from which we have, eh, on which we have a lot of influence, or several
          banks, but one in particular that is the one, we are workiug with right now, we issue
          a bond.... That you on that side would buy, you would make an investment in that
          bond, we receive, urn, that, eh, receive that money for the purchase of that bond
          and you keep the bond on that side. In the term of, a number of months, that bond
          starts going down in price, ... until there comes a moment when it flips, ... but the
          account is never closed, nor, nor are funds transferred, the funds never leave, and
          an investment is made.

          72.    In a May 12, 2016 recorded call with URDANETA, URDANETA and the CS
                                                                                  /
   recounted the CS's meeting with AMPARAN and the· defaulting-bond laundering plan.
                                                                         _,/···



   URDANETA brought up an apartment "over there" in MiaJ.lli for which he paid a significant

   deposit that he is being pressured to close on in 60 days by the developer and agreed to send the

   CS the notice from the developer.

          73.    URDANETA later sent the        es    an image of a May 10, 2016 email from the

   developer of the Porsche Design Tower'{n Miami, informing him of the upcoming closing on the

   unit. The email included "Pre CI6.~ing Questionnaire" provided by the developer contains the
                                   ../



   following warning: "Note)aking title under a company or trust may trigger FinCEN reporting
                                                                    '~

   requirements." In a folYow up chat with the CS, URDANETA explained that he was worried about

   the FinCEN reporting requirement and discussed ways to minimize the risk; URDANETA

   suggested forming a new company with his wife as the beneficial owner.

          74.    In a May 17, 2016 recorded call with URDANETA, URDANETA discussed the

   transfer of the Miami condominium with the equity of URDANETA's down payment to

   AMPARAN as a fee for AMPARAN's laundering services. And, in a May 18, 2016 recorded meet




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   with AMPARAN at Solar Cargo in Miami, AMPARAN and the CS discussed using the Miami

   ~ondominium as a fee 9 and moving forward with the defaulting-bond laundering plan.

           75.    In a November 21, 2016 BBM chat, AMPARAN provided the details of an

   additional fraudulent bond purchase to launder URDANETA's PDVSA funds and explained that

   the bond purchase will be facilitated through a U.K. broker dealer, "European Financial Institution

   2."

           76.    In a March 1, 2017 recorded meet, the CS met with URDANB.TA, AMPARAN,

   "CONSPIRATOR 5," 10 andGOIS, at the offices of European CompanyJin Madrid, Spain. Prior

   to the meeting, URDANETA was captured on· the recording explairiing"
                                                             .....
                                                                        to the CS that the CS ·

   should not be concerned about the fake joint venture contractor being caught because they only

   had to worry about the United States and the "Americans ... have no jurisdiction"; URDANETA
                                                             /
   uses the word "launder" to describe their activities.

           77.    The purpose of the meeting was for the CS to gain comfort with the "operation"
       -                 '                   /
   proposed by AMPARAN. CONSPIRATOR 5 and GOIS were introduced as the managers of the

   operation and meant to comfol,} the CS, who had relayed misgivings to URDANETA about

   working with AMPARAN/

           _78.   During·the meeting, GOIS asked ifthere is anything he can tellthe CS to make him

   more comfortable and the CS noted that he was concerned about European Financial Institution 2
                                                      _.-/




   9AMPARAN      and URDANETA would later report that they worked out a solution to achieve the
   transfer. Miami-Dade Property refords show that the property was transferred from the developer
   to Paladium Real Estate Group LLC on January 12, 2017. According to the Florida Department of
   State, Paladium was formed on May 26, 2016 with URDANETA's wife as an owner. On
   September 23,2016, AMPARAN's wife was added as a manager ofPaladium, and on September
   15, 2017, after the closing, URDANETA' s wife was removed, leaving AMPARAN in control of ·
   Paladium and the condominium.
   1
    °CONSPIRATOR 5 is a third-party money launderer.
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   because they asked "no question" and had "no objection" when an account was opened i~ the CS 's

   name to purchase the fake bond. GOIS explained that there is no issue with European Financial

   Institution 2. AMPARAN, GOIS, and CONSPIRATOR 5 went on to explain that they manage a

   fund which allows themfo'"''generate payment structures, and third party payments institution, with

   a very light KYC." AMPARAN emphasized that they can make payments to "Miami, Panama,

   Europe"; the CS clarified, "And you have no issues paying in the United States?", to which

   AMPARAN replied, "No." GOIS explained that the CS should first buy a/U.K. GILT, then

   transfer it to an account in the CS's name at European Financial Institution 2, after which it will

   be swapped with the fake bond to begin the transfer to URDANETA./.

           -· 79.   On April 26, 2017, the CS, at the request of GOIS and URDANETA, purchased a

   5-:-million-pound U.K. GILT. On June 20, 2017, the CS, at the request of GOIS, ordered his bank,
                                                        /          .
   to "free deliver" the GILT to an account opened for the CS at European Financial Institution 2. At

   European Financial Institution 2, GOIS would oversee an operation to have the GILT exchanged

   for a separate worthless bond, so the fuhds could ultimately be transferred to and concealed for
                                         ,~~···


   URDANETA. Thereafter, the parties continued to discuss the movement of the balance of

  · URDANETA's portion of /the PDVSA funds through 2018, though·ho additional funds have been .




   moved to date.

            80.     In a recorded December 11, 2017 meet with GOIS in the U.K., GOIS explained

   how European Company 1 is the front supporting the laundering operation with the fake bond, and

   that AMPARAN, CONSPIRATOR 5, and "CONSPIRATOR 6" 11 are the directors. GOIS also·

   lamented their criminal exposure, and advised the CS as follows:

            ... the faster you get out, the better for you. Because if you ... they're going to lock
            us all up. That... 'rm telling you, [CS], what do you want me to tell you? That it's

   11
        CONSPIRATOR 6 is a third-party money launderer.


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          not like that? It's the truth, there's going to be a day that they are going to lock all
          of us up; they are going to lock us up. This will be known. [CS], I have no doubt.
          I already saw where the shit comes from. I saw where it comes from, how they're
          doing things, then in the end, whoever has the money is the one who is going to
          have problems. The rest, well, he will have to defend himself, saying "Look, I got
          paid here." You'll defend yourself in your own way, I'll defend myself in the same
          way. But that will happen

                ORTEGA and GUSTAVO's Efforts to Continue Laundering PDVSA Funds

          81.      Also beginning in April2016, ORTEGA and GUSTAVO continued their efforts to

   launder ORTEGA's portion of the PDVSA funds through GUSTAVO's fake 11lutual fund, which

   culminated in the actual movement of funds about a year later.

          82.      In February 2017, the CS laundered some of ORTEGA's portion of the PDVSA

   funds with GUSTAVO's fake mutual fund structure at ORTEGA's direction. On February\ 21,

   2017, GUSTAVO emailed the CS subscription instructions and a subscription agreement for the
                                                         /
   fake fund. Per these documents, the name of the fund was Global Securities Trade Finance, a-;,

   Cayman Islands entity, and the custodian bank was "US Financial Institution 1" in New Jersey.

   On February 24, 2017, the CS instructedn: bank in the Bahamas (where a portion the PDVSA funds

   were then held) to subscribe to th~·· :fulld per the instructions in the amount of 5,000,0000 U.S.
                                    /




   Dollars. Thereafter, on or }round February 28, 2017, that amount was wired to U.S. Financial

   Institution 1; the. fake/subscription was obtained by the CS, and the 5,000,000 U.S. Dollars was
                        ,•·




   available for :ftn:ther use by ORTEGA.

          83.      In a March 29, 2017 recorded meet in Miami, Florida, the CS asked GUSTAVO

   about U.S. Financial Institution 1 and GUSTAVO explained that the bank is controlled by his

   partners in Uruguay, who also control another bank in Puerto Rico ("U.S. Financial Institution 2")
                                                                                                     '

   and that they "have our people in the back" of the bank.




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            84.   In numerous BBM chats between the CS and ORTEGA, ORTEGA asks how things

   are going with "G" (GUSTAVO) and acknowledges the ongoing laundering ofhis (ORTEGA's)

   funds.

            85.   Later in April2017, GUSTAVO, with ORTEGA's agreement, laundered $400,000

  . of the $5,000,000 back to the CS as the CS's "fee" for the CS's role in facilitating the lal.mdering

   ofORTEGA's~$5,000,0nO to GUSTAVO. The CS provided GUSTAVO with an undercover (UC)

   bank account in the name of a shell company in the Southern District ofFlorid<yto receive the fee.

   On April 24, 2017, GUSTAVO wired $396,000 from U.S. Financial Institution 1 to the UC

   account. To ''justify," i.e., conceal, the transaction, GUSTAVO cfeated a fake loan contract
                                                                         ./·



   between the UC shell company and Global Securities Trade Finance.

            86.   The next stage of this scheme was the laundering of the fake subscription out ofthe
                                                             /
   CS's account and into an account ultimately benefiting ORTEGA in order to eliminate any final
                                                                               '
   trace of the movement. GUSTAVO and ORTEGA proposed several methods for this, which the

   CS rejected. These efforts continue to thls day. Over the course of the summer of2017, however,

   GUSTAVO revealed his        conne.s:ti~·~s   to yet another complicit U.S. financial institution, U.S.

   Financial Institution 2, in an
                                /
                                  effort to launder the subscription.

            87.   In a reo6rded June 7, 2017 meet with GUSTAVO, GUSTAVO.told the CS that he

   works with U.S/Financial Institution 2, that he knows the owner, and that he can facilitate things:

   "Sure, and discreet. And the good thing about [U.S. Financial Institution 2] is that without being,

   without being in U.S., it is in U.S ... .in Puerto Rico." GUSTAVO later introduced the CS to

   GUTIERREZ, the majority shareholder of U.S. Financial Institution 2, and the CS and

   GUTIERREZ agreed to meet in the future.




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           88.      On July31, 2017, GUTIERREZ flew to Miami from Uruguay to meet with the CS.

   During a r6corded meet on July 31, 2017 with GUTIERREZ in Miami, the CS explained td
       )
   GUTIERREZ that the CS needed to transfer GUSTAVO's fund subscription to GUSTAVO's

   "client" (ORTEGA) with no trail. The ·cs and GUTIERREZ discussed options including internal

   account-to-account transfers at U.S. Financial Institution 2.

           89.      In a recorded August 14, 2017 call with GUTIERREZ, GUTIERREZ and the CS

   further discussed the subscription to GUSTAVO's fund. GUTIERREZ                offere~possible   schemes

   to justify the transaction using U.S. Financial Institution 2 and            agr~ed   that U.S. Financial
                                                                            /
   Institution 2 will charge a two-and-a-half percent (2.5%) fee.

           90.      During a recorded August 15, 2017 meet with GUSTAVO in Miami, Florioa, the

   CS complained to GUSTAVO about how explicit Gl}TIERREZ was regarding their criminal
                                                          /
   activities   becaus~   he seemed reckless, and the following conversation ensued as GUSTAVO

   attempted to reassure the CS that GUTIERREZ did not know about the ORTEGA "kick-backs":

                          cs              I m{an, I didn't tell him, "Look, this Ortega
                                        . thing is a kick-back, " but ~ imagine that he
                                     J / knows what it is, I mean .. '.                .

                          GUSTAY,O        No, no, I haven't told him anything at all, I
                                          mean, zero [0], zero [0], zero [0]. And I
                                          will never tell him anything because it's not
                                          necessary. I never say anything to these
                     /                    people because you don't need to. There
                                        . isn't, I mean ... everything is done well.

           91.      ORTEGA ultimately rejected the U.S. Financial Institution 2 option because he

   wanted to avoid the United States. The transfer of the subscription remains unresolved.

                                 GUSTAVO's Other Laundering Schemes

           92.      During the course of multiple meetings in Miami with the CS, GUSTAVO

   attempted to develop a relationship with the CS as a potential feeder of additional criminal clients


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   in need of money laundering. Indeed, GUSTAVO would go on to encourage and develop

   additional money laundering schemes with the CS, touting his connections at multiple U.S.

   financial institutions along the way, including other broker/dealers, in addition to U.S. Financial

   Institutions 1 & 2.

          93.      In a November 8, 2016 recorded meet in Miami, the CS conducted a sting against

   GUSTAVO, informing GUSTAVO about a "client" who had to buy a plane in Brazil that is "doing

   a delicate job" and is "going to move ... sensitive merchandise." Prior to the _,CS proposing this

   transaction, GUSTAVO assured the CS that the CS could speak franklyas they were "beyond

   good and   ~vii."   The CS explained that'the client needed to pay sonfe'one
                                                                       /-·
                                                                                in Spain for the plane,

   but that the payment could not be traced back to the plane because "there could be a risk ... the

   authorities eventually investigate the plane." GUSTAVO responded "ok" and "uh huh" without
                                                          /
   hesitation. The CS further explained that source money is in the United States and is completely

   clean. GUSTAVO suggested some options and quickly agreed: "We'll open an account right away

   ... and we'll make the payment" and tKat they will justifyreceiving the payment by selling the

   "client" a "product," i.e., a   fals~ i~vestment. The CS and GUSTAVO agree to only charge the
   "client" ten percent (30,009 U.S. Dollars) in the hopes that he will do more business with them.

          94.      There::~,fter, GUSTAVO and the CS discussed the logistics 6fthe transfer on several

 ·' occasions. In January 9, 2017 recorded meet, the CS explained to GUSTAVO that the CS was

   worried about ORTEGA and the money they (Venezuelan kleptocrats) are moving more than the

   CS was "worried about the plane, the DEA." GUSTAVO responded, "Yes, yes."

          95.      On January 10, 2017, the CS and GUSTAVO commenced the transaction. Upon

   the CS receiving instructions from GUSTAVO, HSI-Miami wired 300,000 U.S. Dollars from a

   UC account in the Southern District of Florida to a U.S. Wells Fargo account held by Global




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   Securities Management LLC, and, on or around January 13, 2017, the funds were received in a

   UC account in Spain as instructed. As previously agreed, GUSTAVO emailed the CS a fake
                                                                                          (


   300,000 U.S. Dollar loan contract to support the initial transaction as well as an invoice from

   Global Securities Management in the amount of30,000 U.S. Dollars for "Loan Structuring."

             KRULL's Conspires to Launder Additional PDVSA Funds with GUSTAVO

          96.    In October 2016, the CS met with KRULL in Panama. KRULL explained that he

   was looking for a bank to deposit approximately 600,000,000 U.S.        Dollar~   from a currency

   excha~ge with PDVSA on behalf of a client, "CONSPIRATOR 7," 12 and
                                                                   ,•
                                                                      which the CS learned

   were located in Gazprombank. The CS stated the CS could     ex~lore~ome options but needed a
                                                                   ,..~/




   contract proving tP.e s<:>urce of funds. On November 8, 2016; ··KRULL explained that he had the

   contract. In a November 17, 2016 WhatsApp chat, KRULL asked if the CS had "the hush"
                                                      //
   (meaning hushmail, an encrypted email provider), and the GS provided a hushmail addr€?ss. That

   same day a PDVSA loan contract arrived at tne CS's hushmail account.

          97.    The PDVSA contract tha(the CS received from KRULL was an amendment to the

   original contract between PDV~.A~nd Rantor, and doubled the credit line from 7.2 to 14 billion

   Bolivars. The amendmen~was dated May 25, 2015, and specifically incorporated the initial

   PDVSA loan contract/

          98.    Over the course of the next few weeks, KRULL continued to press the issue over

   WhatsApp chats, explaining his client was in a "hurry." On November 30, 2016, the CS and

   KRULL met again in Panama. Per the CS, KRULL explained that the funds came from exchange

   contracts which generated around 1.2 billion U.S. Dollars. KRULL explained that, in addition to



   12
      CONSPIRATOR 7 is another reported billionaire member of the "boliburgues" and owner of a
   television network in Venezuela.


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   the 600-million-Dollar solution for CONSPIRATOR 7, KRULL needed an additional solution for

   200 million U.S. Dollars held in European Financial Institution 1 in the name of a straw owner,
                   '                                           l                              .

   "CONSPIRATOR 8." (The CS recognized CONSPIRATOR 8 as a straw owner previously

   proposed to be used to conceal money for the stepsons of VENEZUELAN OFFICIAL 2, a.k.a,

   "los chamos," during a prior meeting with the CONSPIRATOR 8, CONVIT, and "los chamos.")

            99.        On November 30, 2016, KRULL sent the CS a WhatsApp message with photos of

   CONSPIRATORS 7 and 8's Venezuelan passports. KRULL also forwarded                   ~n   email to the CS

   explaining the European Financial Institution 1 structure; the email was in fact a string of

   previously forwarded emails attaching documents from            Europea~. Ffuancial Institution 1, which
                                                                            /



   had been s~nt from AMPARAN to "CONSPIRATOR 9," to CONSPIRATOR 7, to KRULL, and

   to the CS.

            100.       In early December 2016, the CS informed KRULL of a solution for laundering the

   additional PDVSA funds. The CS ultimatelypfoposed GUSTAVO andliis mutual-fundlaundering
        .                                          /
   solutiOn. On December 21, 2016, KRULL sent the CS a resume for CONSPIRATOR 8, whom
                                          /"'
   KRULL referred to as his       "bud~y."      In a later recorded January 7, 2017 phone call with KRULL,

   the CS explained that he cguld not use the CONSPIRATOR 8 resume, noting "this shit is a joke."

   KRULL agreed, "Ye~(it's a joke .... I agree, I agree."

            101.       In" a recorded January 9, 2017 meet with GUSTAVO in Miami, the CS asked

   GUSTAVO for a solution similar to ORTEGA's for CONSPIRATORS 7 & 8, and GUSTAVO

   immediately agreed. GUSTAVO noted that CONSPIRATOR 7 has one of the wealthiest fortunes
                                      -                                                            ---.

   from the "chavismo." GUSTAVO walked through all the different laundering options for both and

   how to handle any "KYC" issues. KRULL later agreed to the solution presented by GUSTAVO,

   and in BBM chats would acknowledge "Gustavo" when inquiring of the status. The CS and




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   KRULL and the CS and GUSTAVO had numerous recorded conversations and message chats

   about the scheme over the course of months.

          102.    In   a   January         10,        2017    recorded _conversation,    KRULL      noted       that

   "[CONSPIRATOR 7]" is asking if the money can be sent. In another, on January 23, 2017,

   KRULL said · the money at European Financial Institution 1 is ready to be moved to

   CONSPIRATOR 8 and that'"I met the dude, and also met the guy that represents him." The CS

   asked, "Are these the guy's sons?" (meaning the stepsons of VENEZUELAN OFFICIAL 2), and

   KRULL responded, "Nah. Don't, don't, don't ask."

          103.    In a January 31, 201 7 recorded call, the CS informed             kRULL that he is in Miami
   and both discuss the laundering further.                  KRULL acknowledged receiving money from the

   European Financial Institution 1 accounts before (i.e., other laundering activity) when he described

   how the wires work.

          104.    On March 7, 2017, KRULL sent the CS a WhatsApp chat and explained that the

   clients are asking about GUSTAVO's fuiid being in the United States. In a March 7, 2017 recorded
                                            ..-··''
   call, KRULL advised that   "[CO~SPIRATOR                   7]" is worried, and the CS explained that the fund
                                     .-"




   is not in the United States,/but that GUSTAVO has offices in the United States (Miami and New

   York). The CS explaitied that GUSTAVO lives in Miami. KRULL asked if GUSTAVO qan fly to

   Panama, and the-CS assured KRULL he could.

          105.   ·on March 16, 2017, the CS met with KRULL and CONSPIRATOR 8 in Panama,

   and at one point called GUSTAVO (who was not in Panama) to discuss the laundering operation.

   During the meeting, CONSPIRATOR 8 stated that he "represented three persons." After the
                                                                                                            -
   meeting, KRULL confided to the CS that he had once seen CONSPIRATOR 8 at CONSPIRATOR

   7's office having lunch with "los chamos," i.e., the stepsons of VENEZUELAN OFFICIAL 2.




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          106.   In a recorded AprilS, 2017 call with KRULL, KRULL stated that CONSPIRATOR

   8 was worried about wiring funds to purchase GUSTAVO's fraudulent fund to U.S. Financial

   Institution 1 in New Jersey because he was worried about using U.S. banks. KRULL explained

   t1iat he told CONSPIRATOR 8 it was irrelevant because all U.S. Dollar wire transactions travel

   through correspondent banks in the United States regardless.

          107.   In a recorded April 14, 2017 meet in Miami with KRULL, KRULL and the CS

   discussed GUSTAVO and CONSPIRATOR 7 and the plan to launder the other/PDVSA funds.

          108.   GUSTAVO and KRULL would continue to discuss this scheme with the CS for

   months thereafter. For instance, in a recorded call with KRULL on August 2, 2017, the CS told
                                                                   ...--·

   KRULL, "I am going to be with GUSTAVO tomorrow ... and he's going to ask me about the fund

   with the children." KRULL explained that he is not sure, but that "CONSPIRATOR 7" may be
                                                       /
   doing something on it with "Chente" (AMPARAN) and explained that he (KRULL) speaks mostly

   to "[CONSPIRATOR 8]" about it because he is "the client."

          109.   Records obtained from em:'ail search warrants confirm the flow of the PDVSA funds
                                                                  '
                                     /
   from PDVSA to· the defendants .Jnid other conspirators through European Financial Institution 1.

   For instance, a September ~Oi5 email circulated among AMPARAN and CONSPIRATORS 5 and

   6 with the subject line/''Numeros [CONSPIRATOR
                                               .,
                                                  7]" includes an attachment titled "Operation

   600k," which contains the following work sheets:

                 a.      A work sheet titled "Detailed Income from PDVSA" shows ten

          transfers from PDVSA from December 29, 2014 through February 3, 2015 totaling

          511,913,270.74 Euros.

                 b.      A work sheet titled "Summary of the 600 Operation'; shows that, of

          the 511 million Euros: 20,476,530.83 was assigned to European Financial




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            Institution 1 as a 4% fee; 227,265,537.52 Euros went to the "BOLl" (CONVIT and

            CONSPIRATOR 2); 159,085,876.26 Euros went to "CHAMOS" (the stepsons of

            VENEZUELAN OFFICIAL 2); and 68,179,661.26 Euros went to CONSPIRATOR

            7. The remaining 36,905,664.87 Euros was accounted for as the "Cost" ofthe initial

            7.2 billion Bolivars used to obtain the 511 million Euros.

                   c.      Further worksheets account for how each recipient moved the

            money. The "BOLl" for instance moved 78.8 million Euros to the              qs   and the

            majority of the rest through apparent shell companies, Volbqr Vontobel and
                                                                                /
            Vencon Holding. CONSPIRATOR 7 sent dozens of U.S. Dollar wires through
                                                                         _/.·



            banks in Malta and Austria, including to aviation and yacht services as well as

            brokerage companies in Miami, Florida.

   These records not only exhibit the conspiracy in bl't detail, but confirm the connection among

   KRULL and the additional conspirators and the initial 78.8 million Euros in PDVSA funds
                                             /
   received by the CS.
        '
                                         /                                          :
                         KRULL's Additional Venezuelan Laundering Schemes
                                     /




            110.   Throughout/the course of KRULL's scheme to launder the additional PDVSA

   funds with the CS, KRULL presented other laundering schemes to the CS; One of the schemes

   involved a relati.ve of VENEZUELAN OFFICIAL 3 who needed ~_way to receive kickbacks from

   foreign law firms who had been hired by the Government of Ven~zuela.

            111.   KRULL first approached the CS with this scheme in the summer of 2017 because

   KRULL needed a laundering structure for receiving the kickbacks. Both KRULL and the CS

   agreed that GUSTAVO was again a good laundering option.




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          112.    On June 29, 2017, KRULL called the CS and, in a recorded conversation, the CS

   told KRULL that he is in Los Angeles, California. KRULL said he has to be "candid and direct"

   and stated:

          Uh, I'm sitting here with, with, with, with the [title of VENEZUELAN OFFICIAL
          3]'s brother .... And, and, and well, they, they, they have earn:ed in the last years a
          payment they're going to receive that is for five [5] .... 0kay? And, and, and we
          have been talking about the, the, the options they, they might have. Right? And,
          and, and I don't know if, if, if you have something that you, that you might think
          of, as to how it can be, uh, things can be structured. Right?
                                                                                      /
          113.   The CS noted that it may be difficult based on the recipient's.profile, but said they
                                                                   '
   can talk more t9morrow and explained he will be flying to Miami then. In a later recorded call on
                                                                             /

   June 29, 2017, KRULL further specified that these were payments from law firms that had handled

   international arbitrations on the Venezuelan government's behalf with international companies and

   had charged the government a lot of money       (5,000,~00   U.S. Dollars). In a recorded call the next

   day, June 30,2018, the CS, KRULL, and VENEZUELAN OFFICIAL 3's brother discussed ways
                                                   /   '

   to launder the payment which was again explicitly described as payments deriving from law firms
                                            /

   who represented Venezuelan     gov~l11lllent   in arbitrations. Different options for laundering the

   payments and "KY~" requirel)lents were discussed.

          114.   In a recorded August 25, 2017 meet with GUSTAVO in Miami: the CS explained
                         /
   that KRULL had two clients related to VENEZUELAN OFFICIAL 3 who needed a way to launder
                  /
   the payments they are going to receive from attorneys who were hired by the Venezuelan

   government. The CS specifically stated "the lawyers are giving them their. kick backs" and

   GUSTAVO responded, "Mm-hmmm." The CS then suggested that the lawyers themselves would

   pay the kickback, and GUSTAVO immediately corrected him:

          No, they can't pay these two [2] guys. No, that's impossible .... Just imagine.
          Specially nowadays with OFAC, and with all of these people reviewing every
          money transfer every day..... Brother, that's kindergarten Algebra. Right? Well,



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          we will have to give a vehicle to each one of these guys ... A private fund ... The
          same thing we did for [ORTEGA].

          115.    In recorded meetings on August 29,2017 and November 14,2017 with KRULL in

   Miami, the CS and KRULL further discussed the kick-back laundering scheme.

                                            CONCLUSION

          116.    Based on the foregoing, probable cause exists that the defendants conspired to

   launder monetary instruments, in violation of Title 18, United States Code, Section 1956(h), and
                                                                                     /.
   did travel in and use facilities of interstate and foreign commerce to further the laundering

   activities, in violation of Title 18, United States Code, Section 1952.
                                                .                            /
                                                                                 ·



                                                        Respectfully submitted,



                                                      GEORGE F. RNAN     , SPECIAL AGENT,
                                                    / HOMELAND SECURITY INVESTIGATIONS
                                            /

   Sw~d
    subscribed before me               ~/
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  ClayofJuly,~018 . . ./

·~·~                                                7
    WINiiTORRES ./
   =rsTAT~S MAGISTRATE JUDGE




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